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 1   Bruce Locke (#177787)

 2   Moss & Locke

 3   4354 Town Center Blvd., #114-59

 4   Eldorado Hills, CA 95762

 5   916-719-3194

 6   Attorneys for Kioni M. Dogan

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES,                                  No. 16-CR-0199 GEB
12                     Plaintiff,
13          v.                                       STIPULATION AND PROPOSED ORDER
                                                     CONTINUING THE STATUS
14   Kioni M. Dogan                                  CONFERENCE SET FOR MARCH 24, 2017
                                                     TO JUNE 23, 2017 AT 9:00 A.M.
15                     Defendants.
16

17
             IT IS HEREBY STIPULATED AND AGREED between the defendants, Kioni Dogan,
18
     Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the
19
     United States of America, by and through its counsel, Assistant U.S. Attorney Jared Dolan, that
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     the status conference presently set for March 24, 2017 should be continued to June 23, 2017 at
21
     9:00, and that time under the Speedy Trial Act should be excluded from March 24, 2017 through
22
     June 23, 2017.
23
            The reason for the continuance is that Mr. Locke and other defense counsel need
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     additional time to review the discovery and to conduct investigation. There are over 14,000 pages
25
     of discovery and Mr. Locke has had to request that some of the discovery be resent because part
26
     was missing from the CD that he received. The exclusion of time is also necessary to ensure
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     continuity of counsel. Accordingly, the time between March 24, 2017 and June 23, 2017 should
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                                                    1
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 1   be excluded from the Speedy Trial calculation pursuant to Title 18, States Code, Section

 2   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends

 3   of justice served by granting this continuance outweigh the best interests of the public and the

 4   defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan, Mr. Foster and Mr. Wilson

 5   have authorized Mr. Locke to sign this pleading for them.

 6   DATED: March 21, 2017                         /s/ Bruce Locke
                                                   BRUCE LOCKE
 7                                                 Attorney for Kioni Dogan
 8
     DATED: March 21, 2017                         /s/ Bruce Locke
 9                                                 For GREGORY FOSTER
                                                   Attorney for Gloria Harris
10

11   DATED: March 21, 2017                         /s/ Bruce Locke
                                                   For ROBERT WILSON
12                                                 Attorney for LAVONDA BAILEY
13
     DATED: March 21, 2017                         /s/ Bruce Locke
14                                                 For JARED DOLAN
                                                   Attorney for the United States
15

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17
            The Court finds, for the reasons stated above, that the ends of justice served by granting
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     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
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     therefore.
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            IT IS SO ORDERED.
21

22   Dated: March 21, 2017

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